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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                      )
CENTER FOR BIOLOGICAL DIVERSITY,                      )
                                                      )
                Plaintiff,                            )
                                                      )
               V.                                     )       Civil Action No. 17-1037 (EGS)
                                    )
U.S. ARMY CORPS OF ENGINEERS and    )
U.S. CUSTOMS AND BORDER PROTECTION, )
                                    )
           Defendants.              )


                                 Declaration of Damon Roberts
        I, Damon Roberts, pursuant to 28 U.S.C. § 1746, make the following declaration related to

the above-captioned matter:

        1.     I am over 18 years of age and competent to testify as to the matters set forth below.

I have personal knowledge of the info1mation expressed herein. I submit this declaration in support

of the United States Almy Corps of Engineers' ("USACE") motion for summary judgment.

       2.      I cmTently serve as the Assistant Chief Counsel for Legislation, Fiscal and General

Law in the Office of the Chief Counsel, USACE. From September 6, 2015 until August 17, 2018,

I served as the Center Counsel for the USACE, Humphrey Engineer Center Support Activity

("HECSA"). HECSA Office of Counsel is responsible for processing all Freedom oflnformation

Act ("FOIA") requests for records generated by personnel at USACE Headquarters. In accordance

with Almy Regulation ("A.R.") 25-55, paragraph 5-200, HECSA Counsel was designated as the

Initial Denial Authority ("IDA") for Headquarters ("HQ") USACE records in 1995. HECSA

Counsel is not authorized to re-delegate this authority. As the IDA, I was responsible for reviewing

all HQ records responsive to FOIA requests to determine whether any of the records must be

withheld pursuant to one of the nine FOIA exemptions.
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                     USACE's SEARCH FOR RESPONSIVE RECORDS

        3.     On January 20, 2017, HECSA Office of Counsel received a request for records

under the FOIA from Ms. Margaret Townsend, an attorney with the Center for Biological

Diversity, for documents related to walls, barriers, or other physical constructions along the U.S-

Mexico and or U.S.-Canada borders created for or provided to the members of the Presidential

Transition Team. A copy of the request is attached hereto as Exhibit A. Due to an administrative

error, we did not begin processing the request until it was re-submitted on April 20, 2017. Ms.

Townsend was sent an email acknowledging her request on April 25, 2017. A copy of the email

is attached hereto as Exhibit B.

       4.      During the first few months of 2017, our office received at least seven other

requests for records related to the construction of a physical barrier along the U.S.-Mexico border.

I identified Mr. Steven Roberts as the Project Manager in USACE Headquarters responsible for

working with Customs and Border Patrol. I determined that Mr. Roberts would have a copy of all

responsive documents located at the USACE Headquarters, due to his position as Project Manager.

Mr. Roberts stored all of his documents related to the construction of a physical barrier in an

electronic folder on his network drive. He stored all of his electronic correspondence related to

the construction of a physical barrier in a specific Outlook folder. Mr. Roberts searched the

aforementioned electronic folder on his network drive and the relevant Outlook folder for all

documents responsive to the FOIA request. Mr. Roberts also searched his physical paper files for

responsive documents.     On April 18, 2017, Mr. Roberts provided me all records within his

possession related the construction of a physical barrier along the U.S.-Mexico border.

       5.      An attorney in my office reviewed the documents provided by Mr. Roberts to

determine which documents were responsive to the various FOIA requests we had received



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pe1taining to a physical ban·ier along the U.S. - Mexico border, including the request received

from Ms. Townsend, and to evaluate whether any of the documents should possibly be withheld

from release under any of the FOIA exemptions. During the review, the attorney identified a

number of documents that had been produced not by USACE headquarters, but rather by other

federal agencies. USACE considered whether it would be most appropriate to refer the documents

to the other agencies for processing and release directly to the requester or to consult with the other

agencies and, after receiving their input, include them within USACE's production. The initial

determination, which was reported to plaintiff via email on June 2, 2017, was to refer the

documents to the other agencies. However, USA CE reconsidered that determination after sending

the email and instead consulted with the other agencies and, after doing so, included the documents

within USACE's production. Thus, notwithstanding the June 2, 2017 email, no documents were

refened and all documents have been processed and released by USACE.

       6.      In early June 2017, I requested that USACE IT personnel electronically search the

email account ofUSACE's Commanding General, Lieutenant General Todd T. Semonite, for any

emails that included the terms "border wall" or "border fence." The IT search was unde1iaken to

ensure all responsive emails to or from USACE leadership had been located and produced. A few

responsive emails were identified and provided to me by an employee with the USACE Cyber

Forensic Branch.

       7.      We completed our internal review ofUSACE headquaiiers' responsive documents

in September of 2017. At that time, I discussed the proposed redactions and documents to be

withheld with the attorney in our office who had been worldng on the FOIA requests pe1taining to

the physical banier along the U.S. - Mexico border. The responsive documents, along with our

proposed redactions, were sent to CBP, the Office of the Administrative Assistant to the Secretary



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of the Almy, the Office of the Secretary of Defense, and the USACE's Southwest Division for

consultation. On October 31, 2017, I determined, in my role as USACE headquarters' IDA, to

withhold 695 pages of attachments in their entirety (subject to the clarification below), release 88

pages of emails in part, and release 573 pages of attachments in part. On November 1, 2017, after

finishing consultation, we released all responsive, non-exempt records to the Center for Biological

Diversity. A copy of the letter that accompanied the release is attached hereto as Exhibit C.

        8.     While preparing this declaration, I discovered I miscalculated the number of pages

of documents withheld in their entirety in the November 1, 2017 production. While the FOIA

response letter stated 695 pages of attachments were withheld in their entirety, it turns out that

many of those documents were actually released elsewhere in the production. Upon further review,

I have determined that 152 pages of attachments were withheld in their entirety. The other 543

pages of attachments were either released in their entirety or released subject to redactions. The

provided Vaughn index (attached hereto as Exhibit D) identifies the FOIA exemptions USACE

relied upon to withhold exempt material from the documents released to the Plaintiff.

                        FOIA EXEMPTION (b)(S) WITHHOLDINGS

       9.      Exemption (b)( 5) of the FOIA is intended to protect info1mation relating to "[i]nter-

agency or intra-agency memorandums or letters which would not be available by law to a party

other than an agency in litigation with the agency." This exemption incorporates civil rules of

discovery, most notably the deliberative process privilege, which was used to withhold material

responsive to the Plaintiffs request. The purpose of the deliberative process privilege is: (1) to

encourage open, frank discussions on matters of policy between subordinates and superiors; (2) to

protect against premature disclosure of proposed policies before they are finally adopted; and (3)

to protect against public confusion that might result from disclosure of reasons and rationales that



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were not in fact ultimately the grounds for an agency's action. To effect these purposes, the

deliberative process privilege protects from disclosure documents containing opinions,

recommendations, statements and other communications which are deliberative or pre-decisional

in nature. It is invoked where it is determined that the protection of the decision-making process

and the give and take between agency employees in dete1mining courses of action or voicing

opinions regarding policies, procedures or potential agency actions is critical to prevent injury to

the quality of agency decisions in that regard.

        10.    Here, as detailed on the accompanying Vaughn index, exemption (b)(5) was used

to withhold documents characterized as deliberative include emails, draft documents, and

communications between Department of Defense ("DoD") personnel regarding the infrastructure

along our nation's borders.       Because these portions reflect pre-decisional opinions and

recommendations, they are deliberative and protected from disclosure. The inf01mation withheld

pursuant to FOIA exemption (b)(5) would foreseeably hmm one of the three interests protected by

FOIA exemption (b)(5), which are identified above.

                        FOIA EXEMPTION (b)(6) WITHHOLDINGS

       11.     Exemption (b)(6) of the FOIA protects information that, if released, would

constitute a clearly unwairanted invasion of privacy. In applying Exemption 6, an individual

privacy interest must be weighed against the public interest in that information. If the privacy

interest outweighs the public interest, the info1mation should be withheld.

       12.     The names and contact info1mation of active duty and civilian DoD personnel were

redacted pursuant to FOIA exemption 6 and the DoD List of Names policy. The individuals'

privacy and security interest in their personally identifying infmmation outweighs the public




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interest in knowing precisely which DoD personnel were included on the emails and the work

contact information for those personnel.

       13.     The redacted information also includes personal phone numbers and personal email

addresses of DoD employees. DoD personnel have an expectation of privacy in their personal

phone numbers and personal email addresses which can be used to contact them outside of the

work place. There is no public interest in disclosure of personal phone numbers or email addresses,

consequently the privacy interest outweighs the public interest in disclosure. This information

falls within the scope of FOIA exemption (b)(6) and was redacted or withheld throughout the

FOIA response.

                      FOIA EXEMPTION {b){7)(E) WITHHOLDINGS

       14.     Exemption (b)(7)(E) of the FOIA affords protection to law enforcement

information that "would disclose techniques and procedures for law enforcement investigations or

prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if

such disclosure could reasonably be expected to risk circumvention of the law."

       15.     Specific infmmation pertaining to the proposed border infrastructure was redacted

pursuant to exemption 7(e). This information, if disclosed, could reveal CBP techniques and

procedures. Specifically, it would reveal CBP's assessment of vulnerabilities along the U.S.-

Mexico border.    Additionally, if this information was disclosed, individuals could use it to

circumvent the borderprotection agents and U.S. immigration law.

                                      SEGREGABILITY

       16.     All documents were processed to achieve maximum disclosure consistent with the

provisions of the FOIA. Every effmi was made to provide the Plaintiff with all releasable material




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and to reasonably segregate exempt information from releasable information.               The FOIA

exemptions asserted as grounds for nondisclosure include (b)(5), (b)(6), and (b)(7)(e).

       I declare under penalty of pe1jury that the foregoing is trne and c01Tect to the best of my

knowledge and belief. Signed this \1,Rday of September 2018.



                                                     Damon Roberts
                                                     Assistant Chief Counsel for the United
                                                     States Army Corps of Engineers




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            EXHIBIT A
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                CENTER for BIOLOGICAL DIVERSITY



Janua1y 20, 2017

VIA ELECTRONIC MAIL

U.S. Army Humphreys Engineer Support Center
Attention: CEHEC-OC
7701 Telegraph Road
Alexandria, VA 22315-3860
foia@usace .army. mil

Re:     Freedom oflnformation Act Request: U.S. Border Walls

Dear FOIA Officer:

This is a request under the Freedom oflnformation Act, 5 U.S.C. § 552, as amended ("FOIA"),
from the Center for Biological Diversity ("Center"), a non-profit organization that works to
secure a future for all species hovering on the brink of extinction through science, law, and
creative media, and to fulfill the continuing educational goals of its membership and the general
public in the process.

                                            REQUESTED RECORDS

The Center requests all records from the U.S. Army Corps of Engineers (the "Corps") that
reference walls, barriers, and/or other physical constructions along the U.S.-Mexico border
and/or U.S.-Canada border, for purposes of the Presidential transition process, created for and/or
provided to brief members of the Presidential Transition Team and/or their representatives.

For this request, the term "all records" refers to, but is not limited to, any and all documents,
correspondence (including, but not limited to, inter and/or intra-agency correspondence as well
as correspondence with entities or individuals outside the federal government), emails, letters,
notes, telephone records, telephone notes, minutes, memoranda, comments, files, presentations,
consultations, biological opinions, assessments, evaluations, schedules, telephone logs, papers
published and/or unpublished, reports, studies, photographs and other images, data (including
raw data, GPS or GIS data, UTM, LiDAR, etc.), maps, and/or all other responsive records, in
draft or final form. All of the foregoing is included in this request if it is in the Corps '
possession and control. If such records are no longer under the control of the Corps but were at
any time, please refer this request to the relevant federal agency or agencies. This request is
being sent to the headquarters for the Corps with the understanding that it will be forwarded to
any other agency offices where responsive records may be l9cated.

This request is not meant to exclude any other records that, although not specially requested, are
reasonably related to the subject matter of this request. If you or your office have destroyed or

 A/as/(a . Arizona. California . Florida. Minnesota . Nevada. New Mexico . New York. Oregon . Vermont. Washington, DC
  P.O. Box 71 0 . Tu cson, AZ 85 702-0710    tel: (5 20) 623. 5252 fax: (520) 623 .9797 www. Biologica lDiversity.org
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determine to withhold any records that could be reasonably construed to be responsive to this
request, I ask that you indicate this fact and the reasons therefore in your response.

Under the FOIA Improvement Act of 2016, agencies are prohibited from denying requests for
information under FOIA unless the agency reasonably believes release of the information will
harm an interest that is protected by the exemption. FOIA Improvement Act of 2016 (Public
Law No . 114-185), codified at 5 U.S.C. § 552(a)(8)(A).

Should you decide to invoke a FOIA exemption, please include sufficient information for us to
assess the basis for the exemption, including any interest(s) that would be harmed by release.
Please include a detailed ledger which includes:

       1.      Basic factual material about each withheld record, including the originator, date,
               length, general subject matter, and location of each item; and

       2.      Complete explanations and justifications for the withholding, including the
               specific exemption(s) under which the record (or portion thereof) was withheld
               and a full explanation of how each exemption applies to the withheld material.
               Such statements will be helpful in deciding whether to appeal an adverse
               determination. Your written justification may help to avoid litigation.

In addition, if you determine that portions of the records requested are exempt from disclosure,
we request that you segregate the exempt portions and mail the non-exempt portions of such
records to my attention at the address below within the statutory time limit. 5 U.S.C. § 552(b ).

The Center is willing to receive records on a rolling basis.

                            FORMAT OF REQUESTED RECORDS

Under FOIA, you are obligated to provide records in a readily-accessible electronic format and
in the format requested. See, e.g., 5 U.S.C. § 552(a)(3)(B) ("In maldng any record available to a
person under this paragraph, an agency shall provide the record in any form or format requested
by the person if the record is readily reproducible by the agency in that form or format.").
"Readily-accessible" means text-searchable and OCR-formatted. See 5 U.S .C. § 552(a)(3)(B).
Please provide all records in a readily-accessible, electronic .pdf format. Additionally, please
provide the records either in (1) load-ready format with a CSV file index or excel spreadsheet, or
if that is not possible; (2) in .pdf fmmat, without any "profiles" or "embedded files." Profiles
and embedded files within files are not readily-accessible. Please do not provide the records in a
single, or "batched," .pdffi[e. We appreciate the inclusion of an index.

If you should seek to withhold or redact any responsive records, we request that you: (1) identify
each such record with specificity (including date, author, recipient, and parties copied); (2)
explain in full the basis for withholding responsive material; and (3) provide all segregable
portions of the records for which you claim a specific exemption. 5 U.S.C. § 552(b). Please
correlate any redactions with specific exemptions under FOIA.




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                                 REQUEST FOR FEE WAIYER

FOIA was designed to provide citizens a broad right to access government records. FOIA's
basic purpose is to "open agency action to the light of public scrutiny," with a focus on the
public's "right to be informed about what their government is up to." US. Dep 't ofJustfoe v.
Reporters Comm.for Freedom ofPress, 489 U.S. 749, 773-74 (1989) (internal quotation and
citations omitted). In order to provide public access to this information, FOIA's fee waiver
provision requires that "[d]ocuments shall be furnished without any charge or at a [reduced]
charge," if the request satisfies the standard. 5 U.S.C. § 552(a)(4)(A)(iii). FOIA's fee waiver
requirement is "liberally construed." Judicial Watch, Inc. v. Rossotti, 326 F.3d 1309, 1310 (D .C.
Cir. 2003); Forest Guardians v. US. Dept. of Interior, 416 F.3d 1173, 1178 (10th Cir. 2005).

The fee waiver amendments of 1986 were designed specifically to provide non-profit
organizations such as the Center access to government records without the payment of fees.
Indeed, FOIA's fee waiver provision was intended "to prevent government agencies from using
high fees to discourage ce1tain types of requesters and requests," which are "consistently
associated with requests from journalists, scholars, and non-profit public interest groups."
Ettlinger v. FBI, 596 F.Supp. 867, 872 (D. Mass. 1984) (emphasis added). As one Senator
stated, "[ a]gencies should not be allowed to use fees as an offensive weapon against requesters
seeking access to Government information .... " 132 Cong. Rec. S. 14298 (statement of Senator
Leahy).

I.     The Center Qualifies for a Fee Waiver.

Under FOIA, a party is entitled to a fee waiver when "disclosure of the information is in the
public interest because it is likely to contribute significantly to public understanding of the
operations or activities of the [Federal] government and is not primarily in the commercial
interest of the requester." 5 U.S.C. § 552(a)(4)(A)(iii). The Department of Defense regulations
for the Corps at 32 C.F.R. § 286.28(d)(3) establish the same standard.

Thus, the Corps must consider four factors to determine whether a request is in the public
interest: (1) whether the subject of the requested records concerns "the operations or activities of
the Federal government," (2) whether the disclosure is "likely to contribute" to an understanding
of government operations or activities, (3) whether the disclosure "will contribute to public
understanding" of a reasonably-broad audience of persons interested in the subject, and (4)
whether the disclosure is likely to contribute "significantly" to public understanding of
government operations or activities. 32 C.F.R. § 286.28(d)(3)(i). As shown below, the Center
meets each of these factors.

       A. The Subject of This Request Concerns "The Operations and Activities of the
          Government."

The subject matter of this request concerns the operations and activities of the Corps. This
request asks for all records from the Corps that reference walls, barriers, and/or other physical
constructions along the U.S.-Mexico border and/or U.S.-Canada border, created for purposes of




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the Presidential transition process, and/or provided to brief members of the Presidential
Transition Team and/or their representatives.

This FOIA will provide the Center and the public with crucial insight into the information
provided by federal agencies to the Trump transition team, including specific insight into how
the primary agencies with jurisdiction over border wall construction are responding to Trump's
promise to build a continuous border wall. For example, a January 13, 2017 CNN story states
that DRS sta1ied discussions about border wall construction immediately after the election,
including identification of specific construction and other priority areas. CNN, "Trump Team
Discussing Border Wall With Army Corps, Interior Depa1iment" (Jan. 13, 2017). Although
there are laws that would apply to such construction, existing legislation (REAL ID Act and
Secure Fence Act) delegates the DRS Secretary with authority to waive such laws in order to
speed construction. It is clear that advising the President-elect about environmental laws and
other constraints relative to any potential border wall or walls are specific and identifiable
activities of the government, in this case the Corps. Judicial Watch, 326 F.3d at 1313
("[R]easonable specificity is all that FOIA requires with regard to this factor") (internal
quotations omitted). Thus, the Center meets this factor.

       B. Disclosure is "Likely to Contribute" to an Understanding of Government Operations
          or Activities.

The requested records are meaningfully informative about government operations or activities
and will contribute to an increased understanding of those operations and activities by the public.

Disclosure of the requested records will allow the Center to convey to the public information
about how federal agencies approach border security and the border wall in patiicular. Once the
information is made available, the Center will analyze it and present it to its 1.1 million members
and online activists and the general public in a manner that will meaningfully enhance the
public's understanding of the information provided by the Corps to the Trump transition team,
including specific insight into how the primaiy agencies with jurisdiction over border wall
construction are responding to Trump's promise to build a continuous border wall.

Thus, the requested records are likely to contribute to an understanding of the Corps' operations
and activities.

       C. Disclosure of the Requested Records Will Contribute to a Reasonably-Broad
          Audience of Interested Persons' Understanding of How the Corps Analyzes New
          Border Projects and Briefs the Presidential Transition Team.

The requested records will contribute to public understanding of how the Corps briefs the Trump
transition team about new projects, specifically any potential U.S. border walls, and whether the
agency's actions are consistent with the laws that would apply to such construction, or would
require waivers or exemptions under existing legislation (i.e., REAL ID Act and Secure Fence
Act). The information provided by the Corps to the Trump transition team, including specific
insight into how the primaty agencies with jurisdiction over border wall construction are
responding to Trump's promise to build a continuous border wall, are areas of interest to a



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reasonably-broad segment of the public. The Center will use the information it obtains from the
disclosed records to educate the public at large about how federal agencies are planning to
approach border wall construction and the border wall in particular. See W. Watersheds Proj. v.
Brown, 318 F.Supp.2d 1036, 1040 (D. Idaho 2004) (" ... find[ing] that WWP adequately specified
the public interest to be served, that is, educating the public about the ecological conditions of
the land managed by the BLM and also how ... management strategies employed by the BLM
may adversely affect the environment.").

Through the Center's synthesis and dissemination (by means discussed in Section II, below),
disclosure of information contained and gleaned from the requested records will contribute to a
broad audience of persons who are interested in the subject matter. Ettlinger v. FBI, 596 F .Supp.
at 876 (benefit to a population group of some size distinct from the requester alone is sufficient);
Carney v. Dep 't of Justice, 19 F.3d 807, 815 (2d Cir. 1994), cert. denied, 513 U.S. 823 (1994)
(applying "public" to require a sufficient "breadth of benefit" beyond the requester's own
interests); Cmty. Legal Servs. v. Dep'tofHous. & Urban Dev., 405 F.Supp.2d 553,557 (E.D. Pa.
2005) (in granting fee waiver to community legal group, court noted that while the requester's
"work by its nature is unlikely to reach a very general audience," "there is a segment of the
public that is interested in its work").

Indeed, the public does not currently have an ability to easily evaluate the requested records,
which concern how federal agencies are planning to approach border wall construction and the
border wall in pa1ticular that are not currently in the public domain - e.g., in the docket on
regulations.gov. See Cmty. Legal Servs. v. HUD, 405 F.Supp.2d 553, 560 (D. Pa. 2005) (because
requested documents "clarify imp01tant facts" about agency policy, "the CLS request would
likely shed light on information that is new to the interested public."). As the Ninth Circuit
observed in McClellan Ecological Seepage Situation v. Carlucci, 835 F.2d 1282, 1286 (9th Cir.
1987), "[FOIA] legislative history suggests that information [has more potential to contribute to
public understanding] to the degree that the information is new and supports public oversight of
                         1
agency operations .... "

Disclosure of these records is not only "likely to contribute," but is ce1tain to contribute, to
public understanding of the information provided by the Corps to the Trump transition team,
including specific insight into how the primaty agencies with jurisdiction over border wall
construction are responding to Trump's promise to build a continuous border wall. The public is
always well served when it knows how the government conducts its activities, particularly
matters touching on legal questions. Hence, there can be no dispute that disclosure of the
requested records to the public will educate the public about how federal agencies evaluate the
potential border security construction and the border wall in particular.




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  In this connection, it is immaterial whether any p01tion of the Center's request may currently be
in the public domain because the Center requests considerably more than any piece of
information that may currently be available to other individuals. See Judicial Watch, 326 F.3d at
1315.


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       D. Disclosure is Likely to Contribute Significantly to Public Understanding of
          Government Operations or Activities.

The Center is not requesting these records merely for their intrinsic informational value.
Disclosure of the requested records will significantly enhance the public's understanding of the
information provided by the Corps to the Trump transition team, including specific insight into
how the primary agencies with jurisdiction over border wall construction are responding to
Trump's promise to build a continuous border wall, as compared to the level of public
understanding that exists prior to the disclosure. Indeed, public understanding will be
sign(ficantly increased as a result of disclosure because the requested records will help reveal
more about how federal agencies evaluate the potential border wall construction and the border
wall in particular. Such public oversight of agency action is vital to our democratic system and
clearly envisioned by the drafters of the FOIA. Thus, the Center meets this factor as well.

II.    The Center has a Demonstrated Ability to Disseminate the Requested Information
       Broadly.

The Center is a non-profit organization that informs, educates, and counsels the public regarding
environmental issues, policies, and laws relating to environmental issues. The Center has been
substantially involved in the activities of numerous government agencies for over 25 years, and
has consistently displayed its ability to disseminate information granted to it through FOIA.

In consistently granting the Center's fee-waivers, agencies have recognized: (1) that the
information requested by the Center contributes significantly to the public's understanding of the
government's operations or activities; (2) that the information enhances the public's
understanding to a greater degree than currently exists; (3) that the Center possesses the expe1tise
to explain the requested information to the public; (4) that the Center possesses the ability to
disseminate the requested information to the general public; (5) and that the news media
recognizes the Center as an established expe1t in the field of imperiled species, biodiversity, and
impacts on protected species. The Center's track record of active participation in oversight of
governmental activities and decisionmaking, and its consistent contribution to the public's
understanding of those activities as compared to the level of public understanding prior to
disclosure are well established.

The Center intends to use the records requested here for public education and outreach, including
media, as well as for potential litigation or other legal efforts similarly. The Center's work
appears in more than 2,000 news stories online and in print, radio and TV per month, including
regular reporting in such impo1tant outlets as The New York Times, Washington Post, and Los
Angeles Times. Many media outlets have rep01ted on the potential U.S. border walls, utilizing
information obtained by the Center from federal agencies including the Corps. In 2016, more
than 2 million people visited the Center's extensive website, viewing a total of more than 5.2
million pages. The Center sends out more than 350 email newsletters and action alerts per year
to more than 1.1 million members and supporters. Three times a year, the Center sends printed
newsletters to more than 50,000 members. More than 166,900 people have "liked" the Center on
Facebook, and there are postings regarding the plans of the Trump transition and how a possible
U.S.-Mexico border wall could restrict endangered species movements and habitat. The Center



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also regularly tweets to more than 45,500 followers on Twitter. The Center intends to use any or
all of these far-reaching media outlets to share with the public information obtained as a result of
this request.

Public oversight and enhanced understanding of the Corps' duties is absolutely necessary. In
determining whether disclosure of requested information will contribute significantly to public
understanding, a guiding test is whether the requester will disseminate the information to a
reasonably-broad audience of persons interested in the subject. Carney v US. Dept. of Justice,
19 F.3d 807 (2nd Cir. 1994). The Center need not show how it intends to distribute the
information, because "[nJothing in FOIA, the [agency] regulation, or our case law require[ s] such
pointless specificity." Judicial Watch, 326 F.3d at 1314. It is sufficient for the Center to show
how it distributes information to the public generally. Id.

III.     Obtaining the Requested Records is of No Commercial Interest to the Center.

Access to government records, disclosure forms, and similar materials through FOIA requests is
essential to the Center's role of educating the general public. Founded in 1994, the Center is a
501(c)(3) nonprofit conservation organization (EIN: XX-XXXXXXX) with more than 1.1 million
members and online activists dedicated to the protection of endangered and threatened species
and wild places. The Center has no commercial interest and will realize no commercial benefit
from the release of the requested records.

IV.     Conclusion

For all of the foregoing reasons, the Center qualifies for a full fee-waiver. We hope that the
Corps will immediately grant this fee waiver request and begin to search and disclose the
requested records without any unnecessary delays.

If you have any questions, please contact me at (971) 717-6409 or foia@biologicaldiversity.org.
All records and any related correspondence should be sent to my attention at the address below.

                                              Sincerely,




                                             Margaret E. Townsend
                                             Open Government Staff Attorney
                                             CENTER FOR BIOLOGICAL DIVERSITY
                                             P.O. Box 11374
                                             Portland, OR 97211-0374
                                             foia@biolo gicaldi versity. org




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             EXHIBIT B
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Smith, Mary A CIV USARMY CEHEC (US)

From:                             Smith, Mary A CIV USARMY CEHEC (US)
Sent:                             Tuesday, April 25, 2017 7:52 AM
To:                               'foia@biologicaldiversity.org'
Subject:                          Townsend FqIA Request - Acknowledgement - FP-17-016933



Dear Ms. Townsend:

This is to acknowledge receipt of your Freedom of Information Act (FOIA) request
for all records from U.S. Army Corps of Engineers that reference walls, barriers,
and/or other physical constructions along the U.S.-Mexico border and/or
U.S.-Canada border, for purposes of the Presidential transition process, created
for and/or provided to brief members of the Presidential Transition Team
and/or their representatives. Your request has been assigned tracking number
FP-17-016933.

Please be advised this office is not a repository for documents. Therefore, we must
determine where the information you have requested would be located and request
a document search be conducted by the relevant records custodians.

Best regards,

Mary Alice Smith
U.S. Army Corps of Engineers
HECSA - Office of Counsel
7701 Telegraph Road
Alexandria, VA 22315
703-428-8160 (office)
703-428-7221 (fax)
Mary.A.Smith@usace .army.mil

THIS IS A PRIVILEGED COMMUNICATION -ATIORNEY-CLIENT/ATIORNEY WORK-PRODUCT.
DO NOT RELEASE UNDER FOIA.

NOTICE: This email and any attachments constitute non-public information
and may contain legally privileged and confidential information intended
solely for the use of the addressee(s). If you are not the intended
recipient, any reading, dissemination, distribution, copying or other use of
this email, including attachments, is prohibited and may be unlawful. If
you have received this message in error, please delete it, including all
copies and backups, and notify me immediately by telephone at (703) 428-8160
or by email at Mary.A.Smith@usace.army.mil. Thank you.




                                                           1
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             EXHIBIT C
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                                 DEPARTMENT OF THE ARMY
                                  U.S. ARMY CORPS OF ENGINEERS
                           HUMPHREYS ENGINEER CENTER SUPPORT ACTIVITY
                                       7701 TELEGRAPH ROAD
                                    ALEXANDRIA, VA 22315-3860




                                                 October 31, 2017

Office of Counsel

Ms. Margaret E. Townsend
Open Government Staff Attorney
CENTER FOR BIOLOGICAL DIVERSITY
P.O. Box 11374
P01iland, OR 11374

Dear Ms. Townsend,

        This is in response to your Freedom of Information Act (FOIA) request, dated
January 20, 2017, in which you sought all records from U.S. Almy Corps of Engineers that
reference walls, baniers, and/or other physical constrnctions along the U.S.-Mexico border
and/or U.S.-Canada border, for purposes of the Presidential transition process, created for and/or
provided to brief members of the Presidential Transition Team and/or their representatives. Your
request was assigned tracking number FP-17-016933.

       I have reviewed the responsive records which I will be releasing to you in redacted f01m
pursuant to Exemption (b)(5) (deliberative process privilege, attorney-client privilege,
attorney-work product privilege), Exemption (b)(6) (privacy), and Exemption (b)7(E) (records or
information compiled for law enforcement purposes) of the FOIA. Six hundred ninety-five (695)
pages of attachments are being withheld.

        We have coordinated with Customs and Border Protection (CBP), Office of the
Administrative Assistant to the Secretary of the Almy (OAA), Office of the Secretary of Defense
(OSD) and the U.S. Army Corps of Engineers Southwestern Division (SWD), which includes the
Districts for Poli W01ih, Texas, Galveston, Texas, Little Rock, At·kansas, and Tulsa, Oklahoma.


                                                Sincerely,



                                                Damon Robe1is
                                                HECSA Counsel




                                        Printed on   Ci)   Recycled Paper
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             EXHIBIT D
                                     Center for Biological Diversity v. U.S. Army Corps of Engineers and U.S. Customs and Border Protection, Civil Action No. 14-1037 (EGS)
                                                                               United States Army Corps of Engineers' Vaughn Index



Document Number Date of Document    Title of Document            Number of Pages            Description of Document                           Exemption(s) Claimed                         Justification for Redacting or Withholding

                                                                                                                                                                                        (b)(5) - Two pages of substantive discussion pertaining to (1) the
                                                                                                                                                                                       potential phases of USACE support to DHS, and (2) sample project
                                                                                                                                                                                         documents, were redacted pursuant to FOIA exemption 5. The
                                                                                     Email from Richard Stevens to Gerald O'Keefe.                                                      statements were pre-decisional and deliberative with respect to
                                                                                   General Todd Semonite and other U.S. Army Corps                                                      USACE's final decision on how USACE could provide inter-agency
                                                                                    of Engineers ("USACE") leaders were cc'd on the                                                   services to DHS. Disclosure of the redacted information would chill
                                                                                   communication. The email discusses the potential                                                    open conversations at USACE, particularly at the very early project
                                    ART Request: USACE Due-                                                                                (b)(5) - Deliberative Process Privilege
       1             1/10/2017                                          3            phases of USACE support to the Department of                                                     identification/ development stage when subordinates need to have
                                             Outs                                                                                            (b)(6) - Personal Privacy Interests
                                                                                      Homeland Security (DHS) for the border wall                                                        frank discussions with their superiors about the feasibility and
                                                                                    project. Fourteen documents requested by DHS                                                            efficacy of potential projects. (b)(6) - The names of three
                                                                                   were attached to the email and were described as                                                   Department of Defense ("DoD") civilian employees cc'd on the email
                                                                                               sample project documents.                                                                were redacted pursuant to FOIA exemption 6 and the DoD List of
                                                                                                                                                                                      Names policy. The three individuals' privacy and security interest in
                                                                                                                                                                                     their personally identifying information outweighs the public interest
                                                                                                                                                                                     in knowing precisely which USACE employees were cc'd on the email.


                                                                                                                                                                                       (b)(5) - Part of a sentence, amounting to 15 words, was redacted
                                                                                                                                                                                      pursuant to FOIA exemption 5. The statement contained within the
                                                                                                                                                                                     redactions are predecisional and deliberative with respect to USACE's
                                                                                     Email from David Hill to General Todd Semonite.                                                    media engagement strategy. The statement was a direct part of
                                   Border Fence/ Border Wall
       2             1/14/2017                                          1          The email discusses David Hill's response to a recent   (b)(5) - Deliberative Process Privilege      USACE's deliberative process in formulating a method to answer
                                        Media Queries
                                                                                                       CNN query.                                                                      media queries. Disclosure of the redacted statement would chill
                                                                                                                                                                                     open conversations at USACE, particularly at the project identification
                                                                                                                                                                                      stage when USACE must make numerous practical policy decisions,
                                                                                                                                                                                                such as identifying an appropriate media strategy.


                                                                                                                                                                                       (b)(5) - Two sentences, and two partial sentences, were redacted
                                                                                                                                                                                     pursuant to FOIA exemption 5. The statements are predecisional and
                                                                                                                                                                                     deliberative with respect to USACE's media engagement strategy and
                                                                                                                                                                                          General Todd Semonite's position on the proposed project.
                                                                                   Email from General Todd Semonite to David Hill and
                                                                                                                                                                                        Disclosure of the redacted statements would reveal premature
                                   LTG Semonite Call - Border                        Charles Alexander. The email contains General
                                                                                                                                           (b)(5) - Deliberative Process Privilege      agency recommendations or comments, and would foreseeably
       3             1/17/2017     Fence/ Border Wall Media             2           Semonite's thoughts on USACE's current efforts,
                                                                                                                                             (b)(6) - Personal Privacy Interests        discourage a full consideration of alternative actions by USACE.
                                           Queries                                   public affairs strategy, and questions about the
                                                                                                                                                                                     (b)(6) - The name of one active duty DoD personnel cc'd on the email
                                                                                                 potential project for CBP.
                                                                                                                                                                                        was redacted pursuant to FOIA exemption 6 and the DoD List of
                                                                                                                                                                                      Names policy. The individual's privacy and security interest in their
                                                                                                                                                                                      personally identifying information outweighs the public interest in
                                                                                                                                                                                      knowing precisely which USACE employees were cc'd on the email.
                                                                                                                                                                                                                                                               Case 1:17-cv-01037-EGS Document 21-3 Filed 09/13/18 Page 21 of 31




                                                                                                                                                                                     (b)(5) - Three paragraphs and one additional sentence were redacted
                                                                                                                                                                                           pursuant to FOIA exemption 5. The redacted statements are
                                                                                                                                                                                          predecisional and deliberative with respect to how USACE will
                                                                                                                                                                                           provide support to CBP on the proposed border wall project.
                                                                                                                                                                                         Specifically, the redacted statements reveal USACE's anticipated
                                                                                                                                                                                      support moving forward, CBP's cost estimates, and USACE's current
                                                                                    Two emails between General Todd Semonite and
                                                                                                                                                                                       organizational limitations. Disclosure of the redacted statements
                                                                                       Dave Hill. Other USACE leaders are cc'd or
                                     LTG Semonite Tracking:                                                                                                                              would chill open conversations at USACE and would prematurely
                                                                                   otherwise included on the emails. In the first email,   (b)(5) - Deliberative Process Privilege
       4            11/29/2016     Potential Work for DHS/ CBP          2                                                                                                            reveal agency recommendations. Such a disclosure would discourage
                                                                                      Dave Hill outlines USACE capabilities, USACE           (b)(6) - Personal Privacy Interests
                                       Emerging Missions                                                                                                                              a full consideration of alternative actions by USACE, and discourage
                                                                                   contract capacities, CBP project cost estimates, and
                                                                                                                                                                                       frank discussions between subordinates and superiors. (b)(6) - The
                                                                                        past support USACE has provided to CBP.
                                                                                                                                                                                      names of two active duty DoD personnel included on the email were
                                                                                                                                                                                       redacted pursuant to FOIA exemption 6 and the DoD List of Names
                                                                                                                                                                                           policy. The individuals' privacy and security interest in their
                                                                                                                                                                                        personally identifying information outweighs the public interest in
                                                                                                                                                                                         knowing precisely which USACE employees were included on the
                                                                                                                                                                                                                       email.




                                                                                                              1
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                                                                                                                                                                              (b)(5) - The document was withheld in its entirety because it is
                                                                                                                                                                             predecisional and deliberative with respect to the ECSO office's
                                                                                                                                                                             current capabilities and ability to provide support to CBP on the
                                                                                                                                                                             border wall project. Disclosure would chill open conversations
                                                                     Overview of USACE's Engineering and Construction                                                     between USACE and CBP regarding agency capabilities and funding.
                                                                          Support Office (ECSO). This fourteen page                                                         (b)(6) - Names of DoD personnel were withheld pursuant to FOIA
                                                                    powerpoint presentation discusses ECSO's structure,                                                      exemption 6 and the DoD List of Names policy. The individual's
                                                                     organization, capabilities, past support to CBP, and        (b)(5) - Deliberative Process Privilege        privacy and security interest in their personally identifying
4.1   September, 2016      ECSO Overview Brief          14           infrastructure assessment branch. The PowerPoint              (b)(6) - Personal Privacy Interests   information outweighs the public interest in knowing precisely which
                                                                        includes ECSO's client portfolio, ECSO's recent        (b)(7)(e) - Law Enforcement Information           USACE employees were included on the email. (b)(7)(e) -
                                                                     funding levels, and high priority/ visibility projects.                                               Information pertaining to the number of border stations along the
                                                                     This document was attached to the "LTG Semonite                                                         U.S.-Mexico border and the number of border patrol agents was
                                                                                      Tracking..." email.                                                                withheld pursuant to FOIA exemption (b)(7)(E). The number of border
                                                                                                                                                                            patrol stations and agents is law enforcement information that, if
                                                                                                                                                                         disclosed, could reveal CBP's techniques and procedures. Specifically,
                                                                                                                                                                           it would reveal CBP's assessment of vulnerabilities along the U.S. -
                                                                                                                                                                                                      Mexico border.


                                                                                                                                                                             (b)(5) - Part of a sentence, amounting to 15 words, was redacted
                                                                                                                                                                           pursuant to FOIA exemption 5. The statement contained within the
                                                                                                                                                                           redactions is predecisional and deliberative with respect to USACE's
                                                                                                                                                                            media engagement strategy. Disclosure of the redacted statement
                                                                                                                                                                           would chill open conversations at USACE, particularly at the project
                                                                                                                                                                             identification stage when USACE must make numerous practical
                                                                      Email string between General Todd Semonite and
                        LTG Semonite Call - Border                                                                                                                          policy decisions, such as identifying an appropriate media strategy.
                                                                      Charles Alexander. The email discusses briefings          (b)(5) - Deliberative Process Privilege
5       1/17/2017       Fence/ Border Wall Media         3                                                                                                                (b)(6) - The name of one active duty DoD personnel cc'd on the email
                                                                     held with CBP on the potential project and USACE's           (b)(6) - Personal Privacy Interests
                                Queries                                                                                                                                       was redacted pursuant to FOIA exemption 6 and the DoD List of
                                                                                    public affairs strategy.
                                                                                                                                                                           Names policy. The individual's privacy and security interest in their
                                                                                                                                                                            personally identifying information outweighs the public interest in
                                                                                                                                                                             knowing precisely which USACE employees were included on the
                                                                                                                                                                           email. One USACE employee's personal cell phone number was also
                                                                                                                                                                              redacted. The individual's privacy interest in their personal cell
                                                                                                                                                                                phone number outweighs the public interest in disclosure.



                                                                                                                                                                           (b)(5) - Four paragraphs were redacted pursuant to FOIA exemption
                                                                                                                                                                                5. The statements contained therein are predecisional and
                                                                                                                                                                          deliberative with respect to USACE and CBP's acquisition strategy and
                                                                                                                                                                             project execution plan. The redacted information reflects USACE
                                                                                                                                                                          decision-makers' thoughts on potential issues the project might face.
                                                                                                                                                                          Disclosure of the redacted statements would chill open conversations
                                                                                                                                                                            at USACE and would prematurely reveal agency recommendations.
                                                                      Email from Christopher Gatz to Mark Yenter. The
                                                                                                                                                                                                                                                   Case 1:17-cv-01037-EGS Document 21-3 Filed 09/13/18 Page 22 of 31




                                                                                                                                                                          Such a disclosure would discourage a full consideration of alternative
                                                                     email describes a recent CBP brief to USACE on the
                                                                                                                                (b)(5) - Deliberative Process Privilege        actions by USACE, and discourage frank discussions between
6        1/4/2017               CBP Brief                1             potential border wall project. During the brief,
                                                                                                                                  (b)(6) - Personal Privacy Interests      subordinates and superiors. (b)(6) - One USACE employee's personal
                                                                       USACE and CBP discussed the potential budget,
                                                                                                                                                                          cell phone number was redacted pursuant to FOIA exemption 6. The
                                                                    acquisition tools, timelines and practical constraints.
                                                                                                                                                                             individual's privacy interest in their personal cell phone number
                                                                                                                                                                           outweighs the public interest in disclosure. The name of one civilian
                                                                                                                                                                             DoD employee cc'd on the email was redacted pursuant to FOIA
                                                                                                                                                                              exemption 6 and the DoD List of Names policy. The individual's
                                                                                                                                                                                privacy and security interest in their personally identifying
                                                                                                                                                                          information outweighs the public interest in knowing precisely which
                                                                                                                                                                                       USACE employees were included on the email.




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                                                                      CBP slide show created for a brief to USACE                                                (b)(7)(e) - Four maps, and one description, depicting the length or
                                                                 leadership. The slide show outlines existing fencing                                           location of the proposed border fencing were redacted pursuant to
                                                                  along the U.S. - Mexico border and proposed new                                              FOIA exemption 7(e). The location and length of the border fencing
                                                                   fencing locations along the U.S. - Mexico border.                                           is law enforcement information that, if disclosed, could reveal CBP's
6.1   11/23/2016         CBP Brief Slides           14                                                                (b)(7)(e) - Law Enforcement Information
                                                                   The slides outline the potential costs of building                                              techniques and procedures. Specifically, it would reveal CBP's
                                                                    additional fencing, CBP's proposed approach to                                                  assessment of vulnerabilities along the U.S. - Mexico border.
                                                                  construction, practical considerations such as real                                         Additionally, if this information was disclosed, individuals could use it
                                                                      estate acquisition, and estimated timelines.                                                            to circumvent the border fence and the law.

                                                                                                                                                                      (b)(6) - One USACE employee's personal cell phone number was
                                                                                                                                                                      redacted pursuant to FOIA exemption 6. The individual's privacy
                                                                                                                                                                     interest in their personal cell phone number outweighs the public
                                                                 Email from Christopher Gatz to the USACE Program                                                  interest in disclosure. The name of one civilian DoD included on the
7      1/9/2017               CBP                    1            Manager expressing a desire to discuss the way          (b)(6) - Personal Privacy Interests     email was redacted pursuant to FOIA exemption 6 and the DoD List of
                                                                         ahead on the potential CBP project.                                                        Names policy. The individual's privacy and security interest in their
                                                                                                                                                                    personally identifying information outweighs the public interest in
                                                                                                                                                                      knowing precisely which USACE employees were included on the
                                                                                                                                                                                                     email.

                                                                                                                                                                     (b)(5) - Eight paragraphs were redacted in their entirety, and five
                                                                                                                                                                    paragraphs were redacted in part, pursuant to FOIA exemption 5.
                                                                                                                                                                  The statements contained therein are predecisional and deliberative
                                                                                                                                                                     with respect to USACE and CBP's acquisition strategy and project
                                                                                                                                                                      execution plan. The redacted information includes project cost
                                                                                                                                                                     estimates, physical details of the fencing, and acquisition options
                                                                                                                                                                       (discussed in the context of USACE's past project experience).
                                                                                                                                                                  Disclosure of the redacted statements would chill open conversations
                                                                  Email string between USACE leaders discussing
                                                                                                                                                                   at USACE and would prematurely reveal agency recommendations.
                                                                potential acquisition strategies and project planning
                   LTG Semonite WILCO - Army                                                                                                                      Such a disclosure would discourage a full consideration of alternative
                                                                 requirements (real estate, environmental review,       (b)(5) - Deliberative Process Privilege
8      1/6/2017       Corps costing work on          8                                                                                                                  actions by USACE, and discourage frank discussions between
                                                                etc.). The email also contains substantive thoughts       (b)(6) - Personal Privacy Interests
                          border fences                                                                                                                            subordinates and superiors. (b)(6) - USACE employees' personal cell
                                                                    on the fence's location and length, potential
                                                                                                                                                                   phone numbers were redacted pursuant to FOIA exemption 6. The
                                                                   designs, project timelines, and funding needs.
                                                                                                                                                                     individuals' privacy interest in their personal cell phone numbers
                                                                                                                                                                   outweighs the public interest in disclosure. The name and emails of
                                                                                                                                                                    approximately twelve DoD employees included on the email string
                                                                                                                                                                     were redacted pursuant to FOIA exemption 6 and the DoD List of
                                                                                                                                                                   Names policy. The individuals' privacy and security interest in their
                                                                                                                                                                    personally identifying information outweighs the public interest in
                                                                                                                                                                     knowing precisely which USACE employees were included on the
                                                                                                                                                                                                     email.

                                                                                                                                                                      (b)(6) - One USACE employee's personal cell phone number was
                                                                                                                                                                    redacted pursuant to FOIA exemption 6. The individual's privacy
                                                                                                                                                                                                                                            Case 1:17-cv-01037-EGS Document 21-3 Filed 09/13/18 Page 23 of 31




                                                                                                                                                                     interest in the personal cell phone number outweighs the public
                                                                  Email from the USACE Program Manger to Jason
                                                                                                                                                                  interest in disclosure. The name and email addresses of two civilian
                                                                  Shinar. The purpose of the email was to provide
9      1/5/2017    Info Paper - CBP - ART Brief      2                                                                    (b)(6) - Personal Privacy Interests         DoD employees included on the correspondence were redacted
                                                                attachments, no substantive discussion is contained
                                                                                                                                                                  pursuant to FOIA exemption 6 and the DoD List of Names policy. The
                                                                                     therein.
                                                                                                                                                                         individuals' privacy and security interest in their personally
                                                                                                                                                                     identifying information outweighs the public interest in knowing
                                                                                                                                                                       precisely which USACE employees were included on the email.




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                                                                                                                                                                    (b)(5) - One paragraph was redacted pursuant to FOIA exemption 5.
                                                                                                                                                                    The statements contained therein are predecisional and deliberative
                                                                                                                                                                    with respect to USACE and CBP's acquisition strategy. The redacted
                                                                                                                                                                       information discusses an example contract solicitation and the
                                                                                                                                                                       benefits of the proposed acquisition method. Disclosure of the
                                                                                                                                                                     redacted statements would chill open conversations at USACE and
                                                                                                                                                                        would prematurely reveal agency recommendations. Such a
                                                                                                                                                                   disclosure would discourage a full consideration of alternative actions
                                                                     Email from the Executive Officer for the                                                        by USACE, and discourage frank discussions between subordinates
                   Political Transition - USACE                                                                          (b)(5) - Deliberative Process Privilege
10     1/11/2017                                     2              Commanding General outlining a proposed                                                             and superiors. (b)(6) - USACE employees' personal cell phone
                                RFI's                                                                                      (b)(6) - Personal Privacy Interests
                                                                 acquisition strategy for the proposed CBP project.                                                      numbers were redacted pursuant to FOIA exemption 6. The
                                                                                                                                                                      individuals' privacy interest in their personal cell phone numbers
                                                                                                                                                                     outweighs the public interest in disclosure. The name, emails and
                                                                                                                                                                     room numbers of approximately eight DoD employees included on
                                                                                                                                                                   the email string were redacted pursuant to FOIA exemption 6 and the
                                                                                                                                                                       DoD List of Names policy. The individuals' privacy and security
                                                                                                                                                                      interest in their personally identifying information outweighs the
                                                                                                                                                                     public interest in knowing precisely which USACE employees were
                                                                                                                                                                                             included on the email.


                                                                                                                                                                    (b)(5) - One paragraph was redacted pursuant to FOIA exemption 5.
                                                                                                                                                                   The statements contained therein are predecisional and deliberative
                                                                                                                                                                    with respect to USACE and CBP's acquisition strategy. The redacted
                                                                                                                                                                      information discusses the time it would take USACE to solicit and
                                                                                                                                                                     award a Multiple Award Task Order Contract ("MATOC contract").
                                                                                                                                                                   Disclosure of the redacted statements would chill open conversations
                                                                                                                                                                     at USACE and would prematurely reveal agency recommendations.
                                                                 Email between USACE leaders discussing potential                                                  Such a disclosure would discourage a full consideration of alternative
                                                                  responses to the DHS transition team's questions.                                                      actions by USACE, and discourage frank discussions between
                     Presidential Transition                                                                             (b)(5) - Deliberative Process Privilege
11     1/4/2017                                      3           The email also contains conversations pertaining to                                               subordinates and superiors. (b)(6) - One USACE employee's personal
                       Narratives & Maps                                                                                   (b)(6) - Personal Privacy Interests
                                                                     the time it would take for USACE to execute                                                   cell phone number was redacted pursuant to FOIA exemption 6. The
                                                                    contract documents for the potential project.                                                       individuals' privacy interest in the personal cell phone number
                                                                                                                                                                       outweighs the public interest in disclosure. The name and email
                                                                                                                                                                     addresses of approximately three DoD employees included on the
                                                                                                                                                                     email string were redacted pursuant to FOIA exemption 6 and the
                                                                                                                                                                        DoD List of Names policy. The individuals' privacy and security
                                                                                                                                                                      interest in their personally identifying information outweighs the
                                                                                                                                                                     public interest in knowing precisely which USACE employees were
                                                                                                                                                                                              included on the email.

                                                                                                                                                                     (b)(5) - The draft response was withheld in its entirety because it
                                                                  Draft response to Presidential Transition Office                                                 contains CBP's assessment of funding and resource constraints. The
                                                                                                                                                                                                                                             Case 1:17-cv-01037-EGS Document 21-3 Filed 09/13/18 Page 24 of 31




                                                                    Tasking 020 - USBP Facilities. The document                                                    withheld information is predecisional and deliberative with respect to
                     Presidential Transition
11.1     N/A                                         1          pertains to the expansion of CBP detention facilities.       (b)(5) - Deliberative Process         USACE and CBP's final policy decision on what funding and resources
                           Office 020
                                                                 The document was attached to the "Presidential                                                     would be required to expand CBP detention facilities. Disclosure of
                                                                        Transition Narratives & Maps" email.                                                        the draft response would chill open conversations between USACE
                                                                                                                                                                    and CBP and would prematurely reveal agency recommendations.

                                                                                                                                                           (b)(7)(e) - One diagram depicting the location of the proposed
                                                                                                                                                         border fence along the U.S. - Mexico border was withheld pursuant
                                                                                                                                                          to FOIA exemption 7(e). The location of the border fencing is law
                                                                Diagram of potential fence locations along the U.S. -
                                                                                                                                                            enforcement information that, if disclosed, could reveal CBP's
11.2     N/A       Border Fence - SW Border          1          Mexico border. The document was attached to the (b)(7)(e) - Law Enforcement Information
                                                                                                                                                            techniques and procedures. Specifically, it would reveal CBP's
                                                                 "Presidential Transition Narratives & Maps" email.
                                                                                                                                                             assessment of vulnerabilities along the U.S. - Mexico border.
                                                                                                                                                        Additionally, if this information was disclosed, individuals could use it
                                                                                                                                                                to circumvent the border fence, and thereby, the law.




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                                                                                                                                                                 (b)(7)(e) - Nine diagrams/ maps depicting the location of the
                                                                                                                                                           proposed border fence along the U.S. - Mexico border were redacted
                                                                 Nine diagrams/ maps of potential fence locations                                          pursuant to FOIA exemption 7(e). The location of the border fencing
                                                               along the U.S. - Mexico border, broken down by CBP                                           is law enforcement information that, if disclosed, could reveal CBP's
11.3     N/A        Border Fence by Sector          9                                                              (b)(7)(e) - Law Enforcement Information
                                                                    sector. The document was attached to the                                                    techniques and procedures. Specifically, it would reveal CBP's
                                                                "Presidential Transition Narratives & Maps" email.                                               assessment of vulnerabilities along the U.S. - Mexico border.
                                                                                                                                                           Additionally, if this information was disclosed, individuals could use it
                                                                                                                                                                     to circumvent the border fence, and thereby, the law.

                                                                                                                                                                 (b)(7)(e) - Three diagrams/ maps depicting the location of the
                                                                                                                                                            proposed border fence along the U.S. - Mexico border were redacted
                                                                 Three diagrams/ maps of potential fence locations
                                                                                                                                                            pursuant to FOIA exemption 7(e). The location of the border fencing
                                                                  along the U.S. - Mexico border, broken down by
                  Border Fence Overview by                                                                                                                   is law enforcement information that, if disclosed, could reveal CBP's
11.4     N/A                                        3           State (California, etc.). The document was attached (b)(7)(e) - Law Enforcement Information
                            State                                                                                                                                techniques and procedures. Specifically, it would reveal CBP's
                                                                to the "Presidential Transition Narratives & Maps"
                                                                                                                                                                  assessment of vulnerabilities along the U.S. - Mexico border.
                                                                                          email.
                                                                                                                                                            Additionally, if this information was disclosed, individuals could use it
                                                                                                                                                                     to circumvent the border fence, and thereby, the law.

                                                                                                                                                                 (b)(7)(e) - 113 diagrams/ maps depicting the location of the
                                                                                                                                                            proposed border fence along the U.S. - Mexico border were redacted
                                                                 113 diagrams/ maps of potential fence locations
                                                                                                                                                            pursuant to FOIA exemption 7(e). The 113 maps depict the fencing at
                                                                  along the U.S. - Mexico border. The 113 maps
                                                                                                                                                             the county or town level, and provide a great deal of specificity on
                                                                depict the fencing at the county or town level, and
                                                                                                                                                            the fence's potential locations. The location of the border fencing is
11.5     N/A       Border Fence Strip Map          113            provide additional specificity on the proposed    (b)(7)(e) - Law Enforcement Information
                                                                                                                                                              law enforcement information that, if disclosed, could reveal CBP's
                                                                fence's locations. The document was attached to
                                                                                                                                                                techniques and procedures. Specifically, it would reveal CBP's
                                                                 the "Presidential Transition Narratives & Maps"
                                                                                                                                                                 assessment of vulnerabilities along the U.S. - Mexico border.
                                                                                       email.
                                                                                                                                                            Additionally, if this information was disclosed, individuals could use it
                                                                                                                                                                    to circumvent the border fence, and thereby, the law.

                                                                                                                                                                    (b)(5) - The draft response was withheld in its entirety because it
                                                                 One page draft response to Presidential Transition
                                                                                                                                                                   contains CBP's assessment of fencing types, particularly given past
                                                                Tasking 017 - Comprehensive picture of the border.
                                                                                                                                                                 practices. The withheld information is predecisional and deliberative
                    Presidential Transition                     The document contains CBP and USACE's thoughts
11.6     N/A                                        1                                                                  (b)(5) - Deliberative Process Privilege   with respect to USACE and CBP's final policy decision on what type of
                      Office Tasking 017                          on the type of fencing that could be constructed
                                                                                                                                                                 fencing to construct along the U.S. - Mexico border. Disclosure of the
                                                                 along the border and the purpose of each type of
                                                                                                                                                                   draft response would chill open conversations between USACE and
                                                                                      fencing.
                                                                                                                                                                      CBP and would prematurely reveal agency recommendations.

                                                                                                                                                                   (b)(5) - The draft response was withheld in its entirety because it
                                                                One page draft response to Presidential Transition                                               contains CBP's assessment of available resources that could be used
                                                                    Tasking 019 - Resources for wall/ barrier                                                    for wall/ barrier construction and issues that might arise during such
                                                                 construction. The document contains CBP and                                                     a project. The withheld information is predecisional and deliberative
                    Presidential Transition
11.7     N/A                                        3           USACE's thoughts on leadership, expertise, inter-      (b)(5) - Deliberative Process Privilege   with respect to USACE and CBP's final policy decision on how to best
                      Office Tasking 019
                                                                agency partnerships, legal authorities, acquisition                                                 execute a project to construct a physical barrier along the U.S. -
                                                                                                                                                                                                                                           Case 1:17-cv-01037-EGS Document 21-3 Filed 09/13/18 Page 25 of 31




                                                                    strategies, supply chains, and real estate                                                     Mexico border. Disclosure of the draft response would chill open
                                                                                  condemnation.                                                                   conversations between USACE, CBP and the Presidential Transition
                                                                                                                                                                    Team and would prematurely reveal agency recommendations.

                                                                                                                                                                    (b)(6) - One USACE employee's personal cell phone number was
                                                                                                                                                                    redacted pursuant to FOIA exemption 6. The individual's privacy
                                                                                                                                                                    interest in the personal cell phone number outweighs the public
                                                                                                                                                                  interest in disclosure. The name and emails of two DoD employees
                  Transition Team Meeting -                      Email discussing due-outs for upcoming meeting
12     1/6/2017                                     2                                                                    (b)(6) - Personal Privacy Interests          included on the email string were redacted pursuant to FOIA
                         Border Fence                                 with the Presidential Transition Team
                                                                                                                                                                     exemption 6 and the DoD List of Names policy. The individuals'
                                                                                                                                                                       privacy and security interest in their personally identifying
                                                                                                                                                                 information outweighs the public interest in knowing precisely which
                                                                                                                                                                              USACE employees were included on the email.
                                                                                                                                                                  (b)(6) - The name and email of one DoD employee included on the
                                                                                                                                                                 email string was redacted pursuant to FOIA exemption 6 and the DoD
                                                                  Email contains no substantive discussion. The
                                                                                                                                                                 List of Names policy. The individual's privacy and security interest in
13     1/5/2017   Info Paper - CBP - ART Brief      1          purpose of the email was to transmit three attached       (b)(6) - Personal Privacy Interests
                                                                                                                                                                  personally identifying information outweighs the public interest in
                                                                                   documents.
                                                                                                                                                                   knowing precisely which USACE employees were included on the
                                                                                                                                                                                                 email.




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                                                                                                                                                                (b)(6) - The name and emails of one DoD employee included on the
                                                                                                                                                               email string was redacted pursuant to FOIA exemption 6 and the DoD
                 Information Paper on USCE                      Email contains no substantive discussion. The
                                                                                                                                                               List of Names policy. The individuals' privacy and security interest in
14   1/5/2017   Support to CBP for ART Brief      1           purpose of the email was to transmit four attached      (b)(6) - Personal Privacy Interests
                                                                                                                                                                 personally identifying information outweighs the public interest in
                         - 5 Jan 17                                              documents
                                                                                                                                                                  knowing precisely which USACE employees were included on the
                                                                                                                                                                                               email.

                                                                                                                                                                  (b)(5) - Eight paragraphs were redacted in their entirety, and five
                                                                                                                                                                 paragraphs were redacted in part, pursuant to FOIA exemption 5.
                                                                                                                                                               The statements contained therein are predecisional and deliberative
                                                                                                                                                                  with respect to USACE and CBP's acquisition strategy and project
                                                                                                                                                                   execution plan. The redacted information includes project cost
                                                                                                                                                                  estimates, physical details of the fencing, and acquisition options
                                                                                                                                                                    (discussed in the context of USACE's past project experience).
                                                                                                                                                               Disclosure of the redacted statements would chill open conversations
                                                               Email string between USACE leaders discussing
                                                                                                                                                                at USACE and would prematurely reveal agency recommendations.
                                                             potential acquisition strategies and project planning
                LTG Semonite WILCO - Army                                                                                                                      Such a disclosure would discourage a full consideration of alternative
                                                              requirements (real estate, environmental review,       (b)(5) - Deliberative Process Privilege
15   1/6/2017      Corps costing work on          9                                                                                                                  actions by USACE, and discourage frank discussions between
                                                             etc.). The email also contains substantive thoughts       (b)(6) - Personal Privacy Interests
                       border fences                                                                                                                            subordinates and superiors. (b)(6) - USACE employees' personal cell
                                                                 on the fence's location and length, potential
                                                                                                                                                                phone numbers were redacted pursuant to FOIA exemption 6. The
                                                                designs, project timelines, and funding needs.
                                                                                                                                                                  individuals' privacy interest in their personal cell phone numbers
                                                                                                                                                                outweighs the public interest in disclosure. The name and emails of
                                                                                                                                                                 approximately twelve DoD employees included on the email string
                                                                                                                                                                  were redacted pursuant to FOIA exemption 6 and the DoD List of
                                                                                                                                                                Names policy. The individuals' privacy and security interest in their
                                                                                                                                                                 personally identifying information outweighs the public interest in
                                                                                                                                                                  knowing precisely which USACE employees were included on the
                                                                                                                                                                                                  email.


                                                                                                                                                                  (b)(5) - Eight paragraphs were redacted in their entirety, and five
                                                                                                                                                                 paragraphs were redacted in part, pursuant to FOIA exemption 5.
                                                                                                                                                               The statements contained therein are predecisional and deliberative
                                                                                                                                                                  with respect to USACE and CBP's acquisition strategy and project
                                                                                                                                                                   execution plan. The redacted information includes project cost
                                                                                                                                                                  estimates, physical details of the fencing, and acquisition options
                                                                                                                                                                    (discussed in the context of USACE's past project experience).
                                                                                                                                                               Disclosure of the redacted statements would chill open conversations
                                                               Email string between USACE leaders discussing
                                                                                                                                                                at USACE and would prematurely reveal agency recommendations.
                                                             potential acquisition strategies and project planning
                LTG Semonite WILCO - Army                                                                                                                      Such a disclosure would discourage a full consideration of alternative
                                                              requirements (real estate, environmental review,       (b)(5) - Deliberative Process Privilege
16   1/6/2017      Corps costing work on          9                                                                                                                  actions by USACE, and discourage frank discussions between
                                                             etc.). The email also contains substantive thoughts       (b)(6) - Personal Privacy Interests
                       border fences                                                                                                                             subordinates and superiors. (b)(6) - USACE employees' private cell
                                                                 on the fence's location and length, potential
                                                                                                                                                                phone numbers were redacted pursuant to FOIA exemption 6. The
                                                                designs, project timelines, and funding needs.
                                                                                                                                                                  individuals' privacy interest in their personal cell phone numbers
                                                                                                                                                                                                                                         Case 1:17-cv-01037-EGS Document 21-3 Filed 09/13/18 Page 26 of 31




                                                                                                                                                                outweighs the public interest in disclosure. The name and emails of
                                                                                                                                                                 approximately twelve DoD employees included on the email string
                                                                                                                                                                  were redacted pursuant to FOIA exemption 6 and the DoD List of
                                                                                                                                                                Names policy. The individuals' privacy and security interest in their
                                                                                                                                                                 personally identifying information outweighs the public interest in
                                                                                                                                                                  knowing precisely which USACE employees were included on the
                                                                                                                                                                                                  email.




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                                                                                                                                                                  (b)(5) - Eight paragraphs were redacted in their entirety, and five
                                                                                                                                                                 paragraphs were redacted in part, pursuant to FOIA exemption 5.
                                                                                                                                                               The statements contained therein are predecisional and deliberative
                                                                                                                                                                  with respect to USACE and CBP's acquisition strategy and project
                                                                                                                                                                   execution plan. The redacted information includes project cost
                                                                                                                                                                  estimates, physical details of the fencing, and acquisition options
                                                                                                                                                                    (discussed in the context of USACE's past project experience).
                                                                                                                                                               Disclosure of the redacted statements would chill open conversations
                                                               Email string between USACE leaders discussing
                                                                                                                                                                at USACE and would prematurely reveal agency recommendations.
                                                             potential acquisition strategies and project planning
                LTG Semonite WILCO - Army                                                                                                                      Such a disclosure would discourage a full consideration of alternative
                                                              requirements (real estate, environmental review,       (b)(5) - Deliberative Process Privilege
17   1/9/2017      Corps costing work on          9                                                                                                                  actions by USACE, and discourage frank discussions between
                                                             etc.). The email also contains substantive thoughts       (b)(6) - Personal Privacy Interests
                       border fences                                                                                                                            subordinates and superiors. (b)(6) - USACE employees' personal cell
                                                                 on the fence's location and length, potential
                                                                                                                                                                phone numbers were redacted pursuant to FOIA exemption 6. The
                                                                designs, project timelines, and funding needs.
                                                                                                                                                                  individuals' privacy interest in their personal cell phone numbers
                                                                                                                                                                outweighs the public interest in disclosure. The name and emails of
                                                                                                                                                                 approximately twelve DoD employees included on the email string
                                                                                                                                                                  were redacted pursuant to FOIA exemption 6 and the DoD List of
                                                                                                                                                                Names policy. The individuals' privacy and security interest in their
                                                                                                                                                                 personally identifying information outweighs the public interest in
                                                                                                                                                                  knowing precisely which USACE employees were included on the
                                                                                                                                                                                                  email.


                                                                                                                                                                (b)(5) - One paragraph was redacted in its entirety pursuant to FOIA
                                                                                                                                                                      exemption 5. The statements contained therein discuss a
                                                                                                                                                               photograph of pedestrian fencing along the U.S. - Mexico border and
                                                                                                                                                                  a draft Information Paper. The statements contained therein are
                                                                                                                                                                   predecisional and deliberative with respect to USACE and CBP's
                                                                                                                                                                   position and recommendations on the proposed border fencing
                                                                                                                                                                   project. Disclosure of the redacted statements would chill open
                                                                                                                                                                    conversations at USACE and would prematurely reveal agency
                                                                                                                                                                    recommendations. Such a disclosure would discourage a full
                                                                 Email discussing a photograph of potential
                Information Paper on USACE                                                                           (b)(5) - Deliberative Process Privilege    consideration of alternative actions by USACE, and discourage frank
18   1/5/2017                                     2           pedestrian fencing along the U.S. - Mexico border
                Support to CBP for ART Brief                                                                           (b)(6) - Personal Privacy Interest       discussions between subordinates and superiors. (b)(6) - One USACE
                                                                       and a draft Information Paper.
                                                                                                                                                                 employee's personal cell phone number was redacted pursuant to
                                                                                                                                                                 FOIA exemption 6. The individual's privacy interest in the personal
                                                                                                                                                                cell phone number outweighs the public interest in disclosure. The
                                                                                                                                                               names and emails of two DoD employees included on the email string
                                                                                                                                                                  were redacted pursuant to FOIA exemption 6 and the DoD List of
                                                                                                                                                                Names policy. The individuals' privacy and security interest in their
                                                                                                                                                                 personally identifying information outweighs the public interest in
                                                                                                                                                                  knowing precisely which USACE employees were included on the
                                                                                                                                                                                                email.
                                                                                                                                                                                                                                        Case 1:17-cv-01037-EGS Document 21-3 Filed 09/13/18 Page 27 of 31




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                                                                                                                                                               (b)(5) - One paragraph was redacted in its entirety pursuant to FOIA
                                                                                                                                                                     exemption 5. The statements contained therein discuss a
                                                                                                                                                              photograph of pedestrian fencing along the U.S. - Mexico border and
                                                                                                                                                                a draft Information Paper. The statements contained therein are
                                                                                                                                                                  predecisional and deliberative with respect to USACE and CBP's
                                                                                                                                                                 position and recommendations on the proposed border fencing
                                                                                                                                                                 project. Disclosure of the redacted statements would chill open
                                                                  Email discussing a photograph of potential                                                       conversations at USACE and would prematurely reveal agency
                 Information Paper on USACE                                                                         (b)(5) - Deliberative Process Privilege
19   1/5/2017                                      1           pedestrian fencing along the U.S. - Mexico border                                                   recommendations. Such a disclosure would discourage a full
                 Support to CBP for ART Brief                                                                         (b)(6) - Personal Privacy Interest
                                                                        and a draft Information Paper.                                                         consideration of alternative actions by USACE, and discourage frank
                                                                                                                                                              discussions between subordinates and superiors. (b)(6) - The names
                                                                                                                                                                and email addresses of two DoD employees included on the email
                                                                                                                                                              string were redacted pursuant to FOIA exemption 6 and the DoD List
                                                                                                                                                                 of Names policy. The individuals' privacy and security interest in
                                                                                                                                                              their personally identifying information outweighs the public interest
                                                                                                                                                               in knowing precisely which USACE employees were included on the
                                                                                                                                                                                               email.



                                                                                                                                                                (b)(5) - Eight paragraphs were redacted in their entirety, and five
                                                                                                                                                                paragraphs were redacted in part, pursuant to FOIA exemption 5.
                                                                                                                                                              The statements contained therein are predecisional and deliberative
                                                                                                                                                                with respect to USACE and CBP's acquisition strategy and project
                                                                                                                                                                  execution plan. The redacted information includes project cost
                                                                                                                                                                estimates, physical details of the fencing, and acquisition options
                                                                                                                                                                    (discussed in the context of USACE's past project experience).
                                                                                                                                                              Disclosure of the redacted statements would chill open conversations
                                                                                                                                                               at USACE and would prematurely reveal agency recommendations.
                                                                  Email discussing a photograph of potential
                 Information Paper on USACE                                                                         (b)(5) - Deliberative Process Privilege   Such a disclosure would discourage a full consideration of alternative
20   1/5/2017                                      2           pedestrian fencing along the U.S. - Mexico border
                 Support to CBP for ART Brief                                                                         (b)(6) - Personal Privacy Interest             actions by USACE, and discourage frank discussions between
                                                                        and a draft Information Paper.
                                                                                                                                                              subordinates and superiors. (b)(6) - One USACE employee's personal
                                                                                                                                                              cell phone number was redacted pursuant to FOIA exemption 6. The
                                                                                                                                                                   individual's privacy interest in the personal cell phone number
                                                                                                                                                              outweighs the public interest in disclosure. The names and emails of
                                                                                                                                                                  two DoD employees included on the email string were redacted
                                                                                                                                                              pursuant to FOIA exemption 6 and the DoD List of Names policy. The
                                                                                                                                                                      individuals' privacy and security interest in their personally
                                                                                                                                                                 identifying information outweighs the public interest in knowing
                                                                                                                                                                   precisely which USACE employees were included on the email.


                                                                                                                                                               (b)(5) - One paragraph was redacted pursuant to FOIA exemption 5.
                                                                                                                                                                                                                                        Case 1:17-cv-01037-EGS Document 21-3 Filed 09/13/18 Page 28 of 31




                                                                                                                                                               The statements contained therein are predecisional and deliberative
                                                                                                                                                               with respect to USACE and CBP's acquisition strategy. The redacted
                                                                                                                                                                  information discusses an example contract solicitation and the
                                                                                                                                                                  benefits of the proposed acquisition method. Disclosure of the
                                                                                                                                                                redacted statements would chill open conversations at USACE and
                                                                                                                                                                   would prematurely reveal agency recommendations. Such a
                                                                                                                                                              disclosure would discourage a full consideration of alternative actions
                                                                   Email from the Executive Officer for the                                                     by USACE, and discourage frank discussions between subordinates
                 Political Transition - USACE                                                                       (b)(5) - Deliberative Process Privilege
21   1/11/2017                                     3              Commanding General outlining a proposed                                                          and superiors. (b)(6) - USACE employees' personal cell phone
                              RFI's                                                                                   (b)(6) - Personal Privacy Interest
                                                               acquisition strategy for the proposed CBP project.                                                   numbers were redacted pursuant to FOIA exemption 6. The
                                                                                                                                                                 individuals' privacy interest in their personal cell phone numbers
                                                                                                                                                                outweighs the public interest in disclosure. The names, emails and
                                                                                                                                                                room numbers of approximately eight DoD employees included on
                                                                                                                                                              the email string were redacted pursuant to FOIA exemption 6 and the
                                                                                                                                                                  DoD List of Names policy. The individuals' privacy and security
                                                                                                                                                                 interest in their personally identifying information outweighs the
                                                                                                                                                                public interest in knowing precisely which USACE employees were
                                                                                                                                                                                        included on the email.




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                                                                                                                                                                  (b)(6) - One DoD employee's name was redacted pursuant to FOIA
                                                                                                                                                                   exemption 6 and the DoD List of Names policy. The individual's
                        Transition Team                           Email discussing edits to documents USACE was
22     1/10/2017                                     2                                                                  (b)(6) - Personal Privacy Interests       privacy and security interest in personally identifying information
                          Deliverables                            working on for the Presidential transition team.
                                                                                                                                                                   outweighs the public interest in knowing precisely which USACE
                                                                                                                                                                                employees were included on the email.

                                                                                                                                                                  (b)(6) - One DoD employee's name was redacted pursuant to FOIA
                                                                                                                                                                   exemption 6 and the DoD List of Names policy. The individual's
                        Transition Team                           Email discussing edits to documents USACE was
23     1/10/2017                                     2                                                                  (b)(6) - Personal Privacy Interests       privacy and security interest in personally identifying information
                          Deliverables                            working on for the Presidential transition team
                                                                                                                                                                   outweighs the public interest in knowing precisely which USACE
                                                                                                                                                                                employees were included on the email.

                                                                                                                                                                  (b)(6) - One DoD employee's name was redacted pursuant to FOIA
                                                                                                                                                                   exemption 6 and the DoD List of Names policy. The individual's
                        Transition Team                           Email discussing edits to documents USACE was
24     1/10/2017                                     2                                                                  (b)(6) - Personal Privacy Interests       privacy and security interest in personally identifying information
                          Deliverables                            working on for the Presidential transition team
                                                                                                                                                                   outweighs the public interest in knowing precisely which USACE
                                                                                                                                                                                employees were included on the email.

                                                                                                                                                                 (b)(5) - The entire document was withheld in its entirety pursuant to
                                                                   Document summarizes a recent Agency Review                                                         FOIA exemption 5. The statements were pre-decisional and
                                                                    Team meeting between USACE and DHS. The                                                        deliberative with respect to USACE's final decision on how USACE
                                                                 document discusses the potential phases of USACE                                                    could provide inter-agency services to DHS. Disclosure of the
24.1     N/A       ART Document Deliverables         2                                                                 (b)(5) - Deliberative Process Privilege
                                                                  support to the Department of Homeland Security                                                    redacted information would chill open conversations at USACE,
                                                                  (DHS) for the border wall project. Sample project                                                particularly at the very early project identification/ development
                                                                      documents are also cited and discussed                                                      stage when subordinates need to have frank discussions with their
                                                                                                                                                                    superiors about the feasibility and efficacy of potential projects.


                                                                                                                                                                   (b)(5) - Over three pages of substantive discussion pertaining to (1)
                                                                                                                                                                 the potential phases of USACE support to DHS, and (2) sample project
                                                                                                                                                                     documents, were redacted pursuant to FOIA exemption 5. The
                                                                                                                                                                     statements were pre-decisional and deliberative with respect to
                                                                 The email discusses the potential phases of USACE                                                   USACE's final decision on how USACE could provide inter-agency
                                                                  support to the Department of Homeland Security                                                   services to DHS. Disclosure of the redacted information would chill
                        Transition Team                            (DHS) for the border wall project. The email also   (b)(5) - Deliberative Process Privilege      open conversations at USACE, particularly at the very early project
25     1/10/2017                                     4
                          Deliverables                           cites ands discusses sample project documents (i.e.     (b)(6) - Personal Privacy Interest        identification/ development stage when subordinates need to have
                                                                     MATOC solicitation, MATOC award, AE base                                                         frank discussions with their superiors about the feasibility and
                                                                               contract, AE task order).                                                          efficacy of potential projects. (b)(6) - The names of two DoD civilian
                                                                                                                                                                 employees were redacted pursuant to FOIA exemption 6 and the DoD
                                                                                                                                                                  List of Names policy. The individuals' privacy and security interest in
                                                                                                                                                                 their personally identifying information outweighs the public interest
                                                                                                                                                                 in knowing precisely which USACE employees were cc'd on the email.
                                                                                                                                                                                                                                            Case 1:17-cv-01037-EGS Document 21-3 Filed 09/13/18 Page 29 of 31




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                                                                                                                                                                 (b)(5) - One sentence was redacted pursuant to FOIA exemption 5.
                                                                                                                                                                       The redacted statement reflects the opinion of a USACE
                                                                                                                                                                decisionmaker on the potential legal requirements pertaining to the
                                                                                                                                                                border wall project. The statement is pre-decisional and deliberative
                                                                                                                                                                  with respect to USACE's final decision on the legal requirements
                                                                                                                                                                   pertaining to the proposed project. Disclosure of the redacted
                                                                                                                                                                information would chill open conversations at USACE, particularly at
                                                                                                                                                                    the very early project identification/ development stage when
                                                                  The email discusses deliverables for the Agency
                   Transition Team Meeting -                                                                          (b)(5) - Deliberative Process Privilege     subordinates need to have frank discussions with their superiors
26     1/10/2017                                     3           Review Team, a collaborative project development
                          Border Fence                                                                                  (b)(6) - Personal Privacy Interest       about the feasibility and efficacy of potential projects. (b)(6) - The
                                                                          team between USACE and DHS.
                                                                                                                                                                 name of one DoD civilian employee was redacted pursuant to FOIA
                                                                                                                                                                   exemption 6 and the DoD List of Names policy. The individual's
                                                                                                                                                                 privacy and security interest in personally identifying information
                                                                                                                                                                  outweighs the public interest in knowing precisely which USACE
                                                                                                                                                                employees were cc'd on the email. One USACE employee's personal
                                                                                                                                                                cell phone number was also redacted pursuant to FOIA exemption 6.
                                                                                                                                                                 The individual's privacy interest in the personal cell phone number
                                                                                                                                                                              outweighs the public interest in disclosure.


                                                                                                                                                                  (b)(5) - One sentence was redacted pursuant to FOIA exemption 5.
                                                                                                                                                                        The redacted statement reflects the opinion of a USACE
                                                                                                                                                                 decisionmaker on the potential legal requirements pertaining to the
                                                                                                                                                                border wall project. The statement is pre-decisional and deliberative
                                                                                                                                                                    with respect to USACE's final decision on the legal requirements
                                                                                                                                                                     pertaining to the proposed project. Disclosure of the redacted
                                                                                                                                                                 information would chill open conversations at USACE, particularly at
                                                                                                                                                                     the very early project identification/ development stage when
                                                                  The email discusses deliverables for the Agency
                   Transition Team Meeting -                                                                          (b)(5) - Deliberative Process Privilege      subordinates need to have frank discussions with their superiors
27     1/10/2017                                     2           Review Team, a collaborative project development
                          Border Fence                                                                                  (b)(6) - Personal Privacy Interest        about the feasibility and efficacy of potential projects. (b)(6) - The
                                                                          team between USACE and DHS.
                                                                                                                                                                   names of two DoD civilian employees were redacted pursuant to
                                                                                                                                                                FOIA exemption 6 and the DoD List of Names policy. The individuals'
                                                                                                                                                                       privacy and security interest in their personally identifying
                                                                                                                                                                information outweighs the public interest in knowing precisely which
                                                                                                                                                                  USACE employees were cc'd on the email. One USACE employee's
                                                                                                                                                                    personal cell phone number was also redacted pursuant to FOIA
                                                                                                                                                                   exemption 6. The individual's privacy interest in the personal cell
                                                                                                                                                                       phone number outweighs the public interest in disclosure.

                                                                                                                                                                (b)(5) - The entire document was withheld in its entirety pursuant to
                                                                   Document summarizes a recent Agency Review                                                        FOIA exemption 5. The statements were pre-decisional and
                                                                    Team meeting between USACE and DHS. The                                                       deliberative with respect to USACE's final decision on how USACE
                                                                 document discusses the potential phases of USACE                                                   could provide inter-agency services to DHS. Disclosure of the
27.1     N/A       ART Document Deliverables         1                                                                (b)(5) - Deliberative Process Privilege
                                                                                                                                                                                                                                           Case 1:17-cv-01037-EGS Document 21-3 Filed 09/13/18 Page 30 of 31




                                                                  support to the Department of Homeland Security                                                   redacted information would chill open conversations at USACE,
                                                                  (DHS) for the border wall project. Sample project                                               particularly at the very early project identification/ development
                                                                      documents are also cited and discussed.                                                    stage when subordinates need to have frank discussions with their
                                                                                                                                                                   superiors about the feasibility and efficacy of potential projects.




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                   Center for Biological Diversity v. U.S. Army Corps of Engineers and U.S. Customs and Border Protection, Civil Action No. 14-1037 (EGS)
                                                             United States Army Corps of Engineers' Vaughn Index


                                                                                                                                                                (b)(5) - One sentence was redacted pursuant to FOIA exemption 5.
                                                                                                                                                                      The redacted statement reflects the opinion of a USACE
                                                                                                                                                               decisionmaker on the potential legal requirements pertaining to the
                                                                                                                                                              border wall project. The statement is pre-decisional and deliberative
                                                                                                                                                                  with respect to USACE's final decision on the legal requirements
                                                                                                                                                                   pertaining to the proposed project. Disclosure of the redacted
                                                                                                                                                               information would chill open conversations at USACE, particularly at
                                                                                                                                                                   the very early project identification/ development stage when
                                                                The email discusses deliverables for the Agency
                 Transition Team Meeting -                                                                          (b)(5) - Deliberative Process Privilege      subordinates need to have frank discussions with their superiors
28   1/10/2017                                     3           Review Team, a collaborative project development
                        Border Fence                                                                                  (b)(6) - Personal Privacy Interest        about the feasibility and efficacy of potential projects. (b)(6) - The
                                                                        team between USACE and DHS.
                                                                                                                                                                 names of two DoD civilian employees were redacted pursuant to
                                                                                                                                                              FOIA exemption 6 and the DoD List of Names policy. The individuals'
                                                                                                                                                                     privacy and security interest in their personally identifying
                                                                                                                                                              information outweighs the public interest in knowing precisely which
                                                                                                                                                                USACE employees were cc'd on the email. One USACE employee's
                                                                                                                                                                  personal cell phone number was also redacted pursuant to FOIA
                                                                                                                                                                 exemption 6. The individual's privacy interest in the personal cell
                                                                                                                                                                    phone numbers outweighs the public interest in disclosure.

                                                                                                                                                               (b)(6) - One DoD employee's name was redacted pursuant to FOIA
                                                                                                                                                                exemption 6 and the DoD List of Names policy. The individual's
29   1/10/2017   ART Document Deliverables         1              The email transmits an attached document.          (b)(6) - Personal Privacy Interests       privacy and security interest in personally identifying information
                                                                                                                                                                outweighs the public interest in knowing precisely which USACE
                                                                                                                                                                             employees were included on the email.


                                                                                                                                                                   (b)(5) - Approximately 1.5 pages of substantive discussion was
                                                                                                                                                               redacted pursuant to FOIA exemption 5. The statements were pre-
                                                                                                                                                               decisional and deliberative with respect to USACE's final decision on
                                                                                                                                                              how USACE could provide inter-agency services to DHS. Disclosure of
                                                                  The email summarizes an Agency Review Team
                                                                                                                                                               the redacted information would chill open conversations at USACE,
                                                                meeting between USACE and DHS. The document
                                                                                                                                                                 particularly at the very early project identification/ development
                      Transition Team                          discusses the potential phases of USACE support to   (b)(5) - Deliberative Process Privilege
30   1/10/2017                                     2                                                                                                            stage when subordinates need to have frank discussions with their
                        Deliverables                           the Department of Homeland Security (DHS) for the      (b)(6) - Personal Privacy Interest
                                                                                                                                                                 superiors about the feasibility and efficacy of potential projects.
                                                                border wall project. Sample project documents are
                                                                                                                                                                (b)(6) - One DoD employee's name was redacted pursuant to FOIA
                                                                             also cited and discussed.
                                                                                                                                                                  exemption 6 and the DoD List of Names policy. The individual's
                                                                                                                                                                privacy and security interest in personally identifying information
                                                                                                                                                                 outweighs the public interest in knowing precisely which USACE
                                                                                                                                                                               employees were included on the email.
                                                                                                                                                                                                                                         Case 1:17-cv-01037-EGS Document 21-3 Filed 09/13/18 Page 31 of 31




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